{¶ 15} I agree with the majority's opinion that no evidence of probable cause for conducting the strip search existed in this case. I write separately to explain that absence of evidence.
  {¶ 16} Officer Tibbetts explained in detail her suspicions concerning appellant. The search of the premises had revealed crack cocaine and drug paraphernalia, pornographic material (that is, evidence of Mr. Washington's parole violation), ammunition for "several different handguns," a billy club, several knives, and a ski mask — "I mean, items which definitely provoked caution on my part." And while the search revealed ammunition, it did not reveal any guns. Officer Tibbetts stated: "Our suspicion was growing that, yes, in fact, there might be something like a gun that could be found. She [appellant] was sitting there. She had full access. If she did have a gun on her person, she could have done anything."
  {¶ 17} All of this testimony went to establishing, as this and the trial court have found, that Officer Tibbetts had reasonable suspicion sufficient to conduct the pat-down of appellant. As the majority noted, however, there was no testimony to establish Officer Tibbetts's belief that probable cause sufficient to conduct the strip search existed. There is no such evidence because Officer Tibbetts did not realize she was about to conduct a strip search. Officer Tibbetts testified:
  Q. Have you ever been talked to about the statute 2933.32, about strip searches?
  A. No.
  Q. Were you aware that just rearranging clothing above your breasts would be considered to be a strip search under the statute?
  A. I had no knowledge of that.
  {¶ 18} Thus, Officer Tibbetts never testified, and would not have testified, as to an individualized probable cause for the search after the pat-down because, in her view, her instruction to appellant to shake out her bra was nothing more than a continuation of the pat-down. While Officer Tibbetts may have acted out of good faith and taken some care not to embarrass appellant, once the trial court found, and this court affirmed, that a strip search occurred following the pat-down, the lack of probable cause evidence arising from the pat-down was fatal to the state's *Page 804 
case. Therefore, I concur in the majority's opinion reversing the judgment and remanding this matter to the trial court. *Page 805 